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UNITED sTATEs DISTRICT CoURT FL‘~E’$ 4@-/---- D-C-

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WAY'N'E R. BLAKELE'Y' J'UDGMENT IN A CIVIL CASE
v.

COMHERCIAL ROOFING CASE NO: 05-2081-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order O:E
voluntary Dismissal Without Prejudice entered on August 10, 2005,
this cause is hereby dismissed without prejudice.

APPROVED :

THOMASM.GOULD

 

 

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with P.ula 58 amc

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02081 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Michael Latimore

THE SKAHAN LAW FIRM
202 Adams Ave.

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

